        Case 1:10-cv-00243-TCS         Document 49         Filed 11/08/24       Page 1 of 41




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE TIMOTHY C. STANCEU, JUDGE

                                                      :
  TOKYO OHKA KOGYO AMERICA, INC.                      :
                                                      :
                          Plaintiff,                  :
                                                      :
            v.                                        : Court No. 10-00243
                                                      :
  UNITED STATES,                                      :
                                                      :
                          Defendant.                  :
                                                      :

                   STIPULATED JUDGMENT ON AGREED STATEMENT OF FACTS

         This action, as prescribed by Rule 58.1 of the Rules of the United States Court of

International Trade, is stipulated for judgment on the following agreed statement of facts in

which the parties agree that:

         1. The protests and the action involved herein were filed within the time provided by

law, and all liquidated duties, charges or exactions have been paid prior to the filing of the

summons.

         2. The imported merchandise covered by the entries set forth on Schedule A, attached,

consists of photoresists identified on the commercial invoices by the alpha numeric item

numbers enumerated on Schedule B.

         3. The imported merchandise was classified by U.S. Customs and Border Protection

as “Chemical preparations for photographic uses (other than varnishes, glues, adhesives

and similar preparations)…: Other: Chemical preparations for photographic uses: Other,”

under subheading 3707.90.32 of the Harmonized Tariff Schedule of the United States

(HTSUS) which carried a duty rater of 6.5% ad valorem.




{0186519.DOCX;1}
        Case 1:10-cv-00243-TCS         Document 49        Filed 11/08/24      Page 2 of 41

Tokyo Ohka Kogyo America, Inc. v. The United States
Stipulated Judgment On Agreed Statement Of Facts
Court No. 10-00243

         4. The stipulable imported merchandise is classifiable as “Chemical preparations for

photographic uses (other than varnishes, glues, adhesives and similar preparations)…:

Sensitizing emulsions,” under subheading 3707.10.00, HTSUS, at the rate of 3% ad valorem.

         5. The imported merchandise covered by the entries set forth on the attached schedule is

stipulable in accordance with this agreement, except for the photoresists identified by an asterisk

at the bottom of Schedule B.

         6. Any refunds payable by reason of this judgment are to be paid with any interest

provided for by law.

         7. All other claims and non-stipulated entries marked with an asterisk are abandoned.




{0186519.DOCX;1}
Case 1:10-cv-00243-TCS   Document 49   Filed 11/08/24   Page 3 of 41
        Case 1:10-cv-00243-TCS         Document 49        Filed 11/08/24       Page 4 of 41

Tokyo Ohka Kogyo America, Inc. v. The United States
Stipulated Judgment On Agreed Statement Of Facts
Court No. 10-00243

         IT IS HEREBY ORDERED that this action is decided and this final judgment is to be

entered by the Clerk of this Court; the appropriate U.S. Customs and Border Protection officials

shall reliquidate the entries and make refund in accordance with the stipulation of the parties set

forth above.




Date: ___________________                     ______________________________________
                                              THE HONORABLE TIMOTHY C. STANCEU,
                                              JUDGE




{0186519.DOCX;1}
           Case 1:10-cv-00243-TCS            Document 49       Filed 11/08/24    Page 5 of 41
                                      Tokyo Ohka Kogyo America, Inc.
                                               Schedule A
          Plaintiff: Tokyo Ohka Kogyo America, Inc.
          Port Names: Various
          Court No. 10-00243 Date: 8/20/2010

                                              Protest
             Protest No      Protest Date     Denied         Entry No     Entry Date Liq Date
          290408-100133          9/3/2008     9/23/2010 * EE6-1229582-8   10/18/2006 3/7/2008
                                                        * EE6-1232034-5     5/2/2007 3/14/2008
                                                        * EE6-1232230-9    5/11/2007 3/21/2008
                                                        * EE6-1232580-7    6/13/2007 4/25/2008
          290408-100156        11/26/2008               * EE6-1232935-3    7/18/2007 5/30/2008
                                                        * EE6-1233138-3    7/25/2007 6/6/2008
                                                        * EE6-1233207-6     8/9/2007 6/20/2008
                                                        * EE6-1233372-8    8/10/2007 7/11/2008
                                                        * EE6-1233655-6    8/31/2007 8/1/2008
                                                        * EE6-1234280-2    11/7/2007 9/19/2008
                                                        * EE6-1234498-0   11/27/2007 10/10/2008
          2904-09-100044         7/9/2009               * EE6-1235585-3     3/6/2008 1/16/2009
                                                        * EE6-1236710-6     6/9/2008 4/24/2009
                                                        * EE6-1236786-6    6/18/2008 5/1/2009
                                                        * EE6-1237010-0    6/30/2008 5/15/2009
                                                          EE6-1237089-4     7/7/2008 5/22/2009
                                                        * EE6-1237266-8    7/24/2008 6/5/2009
                                                          EE6-1237324-5    7/28/2008 6/12/2009
          4701-09-101487       11/25/2009                 EE6-4053739-9    7/14/2008 5/29/2009
          2809-10-100101         3/3/2010                 EE6-8109477-1   10/20/2008 9/4/2009
                                                          EE6-8109531-5   10/22/2008 9/4/2009
                                                          EE6-8109634-7   10/28/2008 9/11/2009
                                                          EE6-8109684-2   10/29/2008 9/11/2009
                                                          EE6-8109820-2    11/5/2008 9/18/2009
                                                          EE6-8109984-6   11/12/2008 9/25/2009
                                                          EE6-8110117-0   11/17/2008 10/2/2009
                                                          EE6-8110183-2   11/19/2008 10/2/2009
          2809-10-100164         4/7/2010                 EE6-8110292-1   11/24/2008 10/9/2009
                                                          EE6-8110313-5   11/26/2008 10/9/2009
                                                          EE6-8110468-7    12/3/2008 10/16/2009
                                                          EE6-8110559-3    12/8/2008 10/23/2009
                                                          EE6-8110599-9   12/10/2008 10/23/2009
                                                          EE6-8110735-9   12/17/2008 10/30/2009
          2809-10-100225         5/5/2010                 EE6-8110921-5     1/7/2009 11/6/2009
                                                          EE6-8111149-2    1/12/2009 11/27/2009
                                                          EE6-8111313-4    1/21/2009 12/4/2009
                                                          EE6-8111453-8    1/27/2009 12/11/2009
                                                          EE6-8111579-0     2/3/2009 12/18/2009
                                                          EE6-8111718-4    2/10/2009 12/28/2009
          2809-10-100319         7/1/2010                 EE6-8111802-6    2/16/2009 1/4/2010
                                                          EE6-8111831-5    2/17/2009 1/4/2010
                                                        * EE6-8111877-8    2/19/2009 1/4/2010
                                                          EE6-8111933-9    2/23/2009 1/8/2010
* The entries marked by an asterick (*) are abandoned.
                                                         1/2
           Case 1:10-cv-00243-TCS            Document 49         Filed 11/08/24     Page 6 of 41
                                      Tokyo Ohka Kogyo America, Inc.
                                               Schedule A
          Plaintiff: Tokyo Ohka Kogyo America, Inc.
          Port Names: Various
          Court No. 10-00243 Date: 8/20/2010

                                              Protest
              Protest No     Protest Date     Denied            Entry No     Entry Date   Liq Date
                                                             EE6-8111966-9    2/24/2009    1/8/2010
                                                             EE6-8112107-9     3/4/2009   1/15/2010
                                                           * EE6-8112153-3     3/5/2009   1/15/2010
                                                             EE6-8112212-7     3/9/2009   1/22/2010
                                                             EE6-8112238-2    3/11/2009   1/22/2010
                                                           * EE6-8112378-6    3/18/2009   1/29/2010
                                                             EE6-8112481-8    3/25/2009    2/5/2010
                                                             EE6-8112611-0    3/30/2009   2/12/2010
                                                             EE6-8112641-7    3/31/2009   2/12/2010
                                                             EE6-8112785-2     4/7/2009   2/19/2010
                                                             EE6-8112870-2    4/13/2009   2/26/2010
                                                             EE6-8112937-9    4/14/2009   2/26/2010
                                                             EE6-8113091-4    4/22/2009    3/5/2010
                                                             EE6-8113252-2    4/28/2009   3/12/2010
                                                             EE6-8113425-4     5/8/2009   3/19/2010
                                                             EE6-8113427-0    5/11/2009   3/26/2010
                                                             EE6-8113501-2    5/12/2009   3/26/2010
                                                             EE6-8113679-6    5/19/2009    4/2/2010
                                                             EE6-8113832-1    5/25/2009    4/9/2010
                                                             EE6-8113866-9    5/26/2009    4/9/2010
                                                             EE6-8114060-8     6/2/2009   4/16/2010
                                                           * EE6-8114238-0     6/9/2009   4/23/2010
                                                             EE6-8114239-8     6/9/2009   4/23/2010
                                                             EE6-8114309-9    6/11/2009   4/23/2010
                                                             EE6-8114434-5    6/17/2009   4/30/2010
                                                             EE6-8114565-6    6/22/2009    5/7/2010
                                                             EE6-8114614-2    6/24/2009    5/7/2010
                                                             EE6-8114818-9    6/30/2009   5/14/2010




* The entries marked by an asterick (*) are abandoned.
                                                         2/2
             Case 1:10-cv-00243-TCS              Document 49          Filed 11/08/24         Page 7 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B              C              D               E            F                       G


                                                          Protest       Protest
    1         Entry Num     Entry Date Protest No         Date          Denied                  Description
    2
        * EE6-1229582-8 10/18/2006 290408-100133             9/3/2008 2/23/2010 P-PA-MF
    3
        * EE6-1229582-8 10/18/2006 290408-100133             9/3/2008 2/23/2010 TP-34 ESTER
    4
        * EE6-1232034-5       5/2/2007 290408-100133         9/3/2008 2/23/2010 T-236 Ester
    5
        * EE6-1232230-9      5/11/2007 290408-100133         9/3/2008 2/23/2010 MBR Ester
    6
        * EE6-1232580-7      6/13/2007 290408-100133         9/3/2008 2/23/2010 Ok Ester
    7
        * EE6-1232580-7      6/13/2007 290408-100133         9/3/2008 2/23/2010 P-PA-MF
    8
        * EE6-1232580-7      6/13/2007 290408-100133         9/3/2008 2/23/2010 R-08
    9
        * EE6-1232580-7      6/13/2007 290408-100133         9/3/2008 2/23/2010 TP-34 ESTER
   10
        * EE6-1232580-7      6/13/2007 290408-100133         9/3/2008 2/23/2010 TP-4 Ester
   11
        * EE6-1232935-3      7/11/2007 290408-100156       11/26/2008 2/23/2010 OK ESTER
   12
      * EE6-1232935-3        7/11/2007 290408-100156       11/26/2008 2/23/2010 TP-236 Ester
   13
      * EE6-1233138-3        7/25/2007 290408-100156       11/26/2008 2/23/2010 BIS-Z
   14
        * EE6-1233207-6       8/9/2007 290408-100156       11/26/2008 2/23/2010 TP-236 Ester
   15
      * EE6-1233372-8        8/10/2007 290408-100156       11/26/2008 2/23/2010 TP-26
   16
      * EE6-1233655-6        8/31/2007 290408-100156       11/26/2008 2/23/2010 MBR Ester
   17
        * EE6-1234280-211/7/2007 290408-100156 11/26/2008 2/23/2010 HBPX-1
   18
      * EE6-1234498-0 11/27/2007 290408-100156 11/26/2008 2/23/2010 TP-34 Ester
   19
      * EE6-1235585-3   3/6/2008 2904-09-100044  7/9/2009 2/24/2010 HBPX
   20
      * EE6-1236710-6   6/9/2008 2904-09-100044  7/9/2009 2/24/2010 TP-34
   21
        * EE6-1236786-6      6/18/2008 2904-09-100044        7/9/2009 2/24/2010 HBPX
   22
      * EE6-1237010-0        6/30/2008 2904-09-100044        7/9/2009 2/24/2010 TP-236 ESTER
   23       EE6-1237089-4     7/7/2008 2904-09-100044        7/9/2009 2/24/2010 THMR IP5680
   24   EE6-4053739-9        7/14/2008 4701-09-101487 11/25/2009 4/16/2010 TDUR-N720 ME 2CP
   25
      * EE6-1237266-8        7/24/2008 2904-09-100044        7/9/2009 2/24/2010 TP-236 ESTER
   26       EE6-1237324-5    7/28/2008 2904-09-100044        7/9/2009 2/24/2010 THMR IP5680
   27   EE6-8109477-1 10/20/2008 2809-10-100101              3/3/2010    3/2/2010 TARF-SC151 EA
   28
      * EE6-8109531-5 10/22/2008 2809-10-100101              3/3/2010    3/2/2010 CFPR BK-4611
   29       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 EUVR-P
   30       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 EUVR-P
   31       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 EUVR-P3023
   32
        * EE6-8109531-5 10/22/2008 2809-10-100101            3/3/2010    3/2/2010 OEBR-CAP130T4 PM 1.8CP
   33       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-7a
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 1/35
             Case 1:10-cv-00243-TCS             Document 49           Filed 11/08/24         Page 8 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B             C               D               E            F                       G


                                                          Protest       Protest
   1          Entry Num    Entry Date Protest No          Date          Denied                  Description
   34       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-7a
   35       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P6100 EM 3CP
   36       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P6100 EM 4.2CP
   37       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P6111 ME 1.7CP
   38       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P6111 ME 1.9CP
   39       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P6111 ME 1.9CP
   40       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P7047 EM 3.1CP
   41       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P7070 EM 2.2CP
   42       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P7144 ME 1.8CP
   43       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P7144 ME 1.8CP
   44       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P7144 ME 1.8CP
   45       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TCIR-ZR8800 PB
   46       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR5200 HL 3.7CP
   47       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR65 HP 11CP
   48       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR65 HP 11CP
   49       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 25CP
   50       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 25CP
   51       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 25CP
   52       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR89 LB 14CP
   53       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR89 LB 14CP
   54       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR89 LB 14CP
   55       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P3435 LP 4.1CP
   56       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P3435 LP 4.1CP
   57       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P3435 LP 4.1CP
   58       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P3435 LP 4.1CP
   59       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6137 EL 6.7CP
   60       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6137 EL 6.7CP
   61       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6137 EL 6.7CP
   62       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6137 EL 6.7CP
   63       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6137 EL 6.7CP
   64       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6159 EL 22CP
   65       EE6-8109531-5 10/22/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6178F EL 11.4CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 2/35
              Case 1:10-cv-00243-TCS               Document 49            Filed 11/08/24          Page 9 of 41

                                                 Tokyo Ohka Kogyo America,
                                                    Inc. Court No. 10-00243
                                                           Schedule B

       A           B              C                D                E               F                        G


   1          Entry Num       Entry Date Protest No           Protest Date Protest Denied                Description
  66       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P6178F EL 11.4CP
  67       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P6178F EL 11.4CP
  68       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P628 EL 25CP
  69       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P630 EL 24CP
  70       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P7126 EL 11CP
  71       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P7126 EL 11CP
  72       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P722 EL 11CP
  73       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P722 EL 11CP
  74       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-PEX3 D70 PM
  75       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-PEX3 PM 7CP
  76       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 THMR-IP2690 LB 48CP
  77       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 THMR-IP3100HS LB 15CP
  78       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 THMR-IP3680 HL 10CP
  79       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 THMR-IP3680 HL 10CP
  80       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 THMR-IP5700 HP 60CP
  81       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TSMR-9250 LB 60CP
  82       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TSMR-9250 LB 60CP
  83       EE6-8109531-5      10/22/2008 2809-10-100101           3/3/2010          3/2/2010 TSMR-CR50I15 EP 30CP
  84       EE6-8109634-7      10/28/2008 2809-10-100101           3/3/2010          3/2/2010 TCIR-ZR8800
  85       EE6-8109634-7      10/28/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P7117 EL 14CP
  86       EE6-8109634-7      10/28/2008 2809-10-100101           3/3/2010          3/2/2010 TDUR-P7117 EL 14CP
  87       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 DP-6178
  88       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 DP-6211
  89       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 DP-6212
  90       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TArF-7a
  91       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TArF-8a
  92       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TARF-P6100 EM
  93       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TARF-P6100 EM 4.2CP
  94       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TARF-P8000 LP
  95       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TDMR-AR100 HL 5CP
  96       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TDMR-AR5300 HP 1.42CP
  97       EE6-8109684-2      10/29/2008 2809-10-100101           3/3/2010          3/2/2010 TDMR-AR65 HP 11CP




*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                   3/35
             Case 1:10-cv-00243-TCS             Document 49          Filed 11/08/24         Page 10 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B             C               D               E            F                       G


                                                          Protest       Protest
   1          Entry Num     Entry Date Protest No         Date          Denied                  Description
   98       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 30CP
   99       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 48CP
  100       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 48CP
  101       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 48CP
  102       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P5107 EL 5.6CP
  103       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P722 EL 11CP
  104       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P722 EL 11CP
  105       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TGMR-DP011 AE 80CP
  106       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-V50 EL 35CP
  107       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-V50 EL 35CP
  108       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-V90 LB 15CP
  109       EE6-8109684-2 10/29/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-V90 LB 19CP
  110
        * EE6-8109820-2     11/5/2008 2809-10-100101         3/3/2010    3/2/2010 EP-048
  111
      * EE6-8109820-2       11/5/2008 2809-10-100101         3/3/2010    3/2/2010 EP-048
  112
      * EE6-8109820-2       11/5/2008 2809-10-100101         3/3/2010    3/2/2010 EP-048A4
  113
        * EE6-8109820-2     11/5/2008 2809-10-100101         3/3/2010    3/2/2010 EP-048A4
  114
      * EE6-8109820-2       11/5/2008 2809-10-100101         3/3/2010    3/2/2010 EP-052
  115
      * EE6-8109820-2       11/5/2008 2809-10-100101         3/3/2010    3/2/2010 EP-052
  116       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 PMER P-CH 3000 PM
  117       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TARF-P6239 ME 1.75CP
  118       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDMR-AR80 HP 6CP
  119       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P501B PM 4CP
  120       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P5107 EL 5.6CP
  121       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P534 EL 8CP
  122       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P534 EL 8CP
  123       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P534 EL 8CP
  124       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P603B PM 9CP
  125       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P603B PM 9CP
  126       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P6137 EL 15.5CP
  127       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P6193 EL 11.8CP
  128       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P6193 EL 11.8CP
  129       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P7117 EL 14CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 4/35
             Case 1:10-cv-00243-TCS             Document 49          Filed 11/08/24         Page 11 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B             C               D               E            F                       G


                                                          Protest       Protest
   1          Entry Num     Entry Date Protest No         Date          Denied                  Description
  130       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P7147
  131       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-P7147 EL 10.1CP
  132       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TDUR-PEX3 D70 PM 7CP
  133       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 THMR-IP3500 HP 2CP
  134       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 THMR-IP9600 HP 8CP
  135       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TMR-P15M1
  136       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TSMR-8900 MD-2 LB 50CP
  137       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TSMR-8900 MD-2 LB 50CP
  138       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TSMR-IN008 PM 10CP
  139       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TSMR-IN008 PM 10CP
  140       EE6-8109820-2   11/5/2008 2809-10-100101         3/3/2010    3/2/2010 TSMR-IN032 MG 6.4CP
  141       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 EUVR-P1123 ME
  142       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 PMER N-CA3000 PM
  143       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 PMER N-CA3000 PM
  144       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-6a-764 ME
  145       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-6a-770 ME
  146       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-8a
  147       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-8a
  148       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-ITTF
  149       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-N026
  150       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-N1033 ME
  151       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-N1033 ME
  152       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P7047 EM 3.7CP
  153       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P7050 EM 2.5CP
  154       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P8019 LP 2.4CP
  155       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TArF-PP006
  156       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR5300 HP 1.67CP
  157       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 25CP
  158       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 25CP
  159       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 25CP
  160       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR87 LB 48CP
  161       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P015 PM 8CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 5/35
             Case 1:10-cv-00243-TCS            Document 49           Filed 11/08/24         Page 12 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B             C               D               E            F                       G


                                                          Protest       Protest
   1          Entry Num    Entry Date Protest No          Date          Denied                  Description
  162       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P5107 EL 6CP
  163       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6119 EL 8CP
  164       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6159 EL 65CP
  165       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6159 EL 65CP
  166       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6178 EL 6.7CP
  167       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6178 EL 6.7CP
  168       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6178 EL 6.7CP
  169       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P628 EL 25CP
  170       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P628 EL 25CP
  171       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P628 EL 25CP
  172       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P7117 EL 11CP
  173       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P7126 EL 11CP
  174       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P7126 EL 11CP
  175       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P7133M EL 10.7CP
  176       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P722 EL 17CP
  177   EE6-8109984-6 11/12/2008 2809-10-100101              3/3/2010    3/2/2010 TDUR-P722 EL 17CP
  178
      * EE6-8109984-6 11/12/2008 2809-10-100101              3/3/2010    3/2/2010 TELR-P003 PM
  179       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 THMR-IP2250 EP 55CP
  180       EE6-8109984-6 11/12/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-V50 EL 35CP
  181       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 EUVR-P
  182       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P419 PM 3.7CP
  183       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P419 PM 3.7CP
  184       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6119 EL
  185       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P630 EL 18CP
  186       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P630 EL 18CP
  187       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P630 EL 24CP
  188       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 THMR-IP3500 HP 5CP
  189       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 THMR-IP3500 HP 5CP
  190       EE6-8110117-0 11/17/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-IN027 PM
  191       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 DP-6178Tr2 EL
  192       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TARF-P6239 ME 1.75CP
  193       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR5300 HP 1.42CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 6/35
             Case 1:10-cv-00243-TCS             Document 49          Filed 11/08/24         Page 13 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B             C               D               E            F                       G


                                                          Protest       Protest
   1          Entry Num    Entry Date Protest No          Date          Denied                  Description
  194       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR65 HP 11CP
  195       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR89 LB 14CP
  196       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR89 LB 14CP
  197       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDMR-AR89 LB 14CP
  198       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6137 EL 15.5CP
  199       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6137 EL 15.5CP
  200       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6158 EL 16.7CP
  201       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6158 EL 16.7CP
  202       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6158 EL 16.7CP
  203       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P6158 EL 16.7CP
  204       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P628 EL 19CP
  205       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P628 EL 19CP
  206       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P628 EL 19CP
  207       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P630 EL 12CP
  208       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P630 EL 12CP
  209       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TDUR-P7133M EL 7.2CP
  210       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 THMR-IP3600 HP 6CP
  211       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 THMR-IP3600 HP D2
  212       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-CR50I15 EP 30CP
  213       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-IN008 D2 PM 4CP
  214       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-IN008 D2 PM 4CP
  215       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-IN008 PM 10CP
  216       EE6-8110183-2 11/19/2008 2809-10-100101          3/3/2010    3/2/2010 TSMR-V90 LB 15CP
  217       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TArF-6a
  218       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P3435 LP 2.7CP
  219       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P501B PM 2.8CP
  220       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P501B PM 2.8CP
  221       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P603B PM 9CP
  222       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P603B PM 9CP
  223       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P630 EL 8CP
  224       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TGMR-DP011 AE 47CP
  225       EE6-8110292-1 11/24/2008 2809-10-100164          4/7/2010 6/24/2010 TGMR-DP011 AE 47CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 7/35
             Case 1:10-cv-00243-TCS             Document 49          Filed 11/08/24         Page 14 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B             C               D               E            F                       G


                                                          Protest       Protest
   1          Entry Num     Entry Date Protest No         Date          Denied                  Description
  226   EE6-8110292-1 11/24/2008 2809-10-100164              4/7/2010 6/24/2010 THMR-IP9600 HP 6.5CP
  227
      * EE6-8110292-1 11/24/2008 2809-10-100164              4/7/2010 6/24/2010 TMMR S2000
  228       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 EUVR-P
  229       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TArF-7a
  230       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P6111 ME
  231       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P6239 ME 1.55CP
  232       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P7144 ME 1.8CP
  233       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P7144 ME 1.8CP
  234       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P9009 LA
  235       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P501B PM 4CP
  236       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P501B PM 4CP
  237       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P501B PM 4CP
  238       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P5107 EL 5.6CP
  239       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P534 EL 8CP
  240       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P534 EL 8CP
  241       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P534 EL 8CP
  242       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P6178F EL 11.4CP
  243       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P6178F EL 11.4CP
  244       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P722 EL 11CP
  245       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P722 EL 11CP
  246       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-P722D35 EL 6.5CP
  247       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 TDUR-PEX3 D20 PM 7CP
  248       EE6-8110313-5 11/26/2008 2809-10-100164          4/7/2010 6/24/2010 THMR-IP3650 HP 4CP
  249       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 EUVR-P
  250   EE6-8110468-7       12/3/2008 2809-10-100164         4/7/2010 6/24/2010 EUVR-P
  251
      * EE6-8110468-7       12/3/2008 2809-10-100164         4/7/2010 6/24/2010 OEBR-CAP112 PM 3.8CP
  252       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 PMER P-CS 1500 PM
  253       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TArF-8a
  254       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P5071SM EM 2.2CP
  255       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P6100 EM 4.2CP
  256       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P6100 EM 4.2CP
  257     EE6-8110468-7 12/3/2008 2809-10-100164              4/7/2010 6/24/2010 TARF-P6100 EM 4.2CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 8/35
             Case 1:10-cv-00243-TCS             Document 49          Filed 11/08/24         Page 15 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

        A         B             C               D               E            F                       G


                                                          Protest       Protest
   1          Entry Num     Entry Date Protest No         Date          Denied                  Description
  258       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P6111 ME 2.1CP
  259       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P7050 EM 3.2CP
  260       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P7050 EM 3.2CP
  261       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 25CP
  262       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 25CP
  263       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 25CP
  264       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P534 EL 8CP
  265       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P534 EL 8CP
  266       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P722D35 EL 5.3CP
  267       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P722D35 EL 5.3CP
  268       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-SC018 ER
  269       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP3650 HP 4CP
  270       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP3680 HL 10CP
  271       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP3680 HL 10CP
  272       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP5700 HP 60CP
  273       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP5700 HP 60CP
  274       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP9600 HP 4.5CP
  275       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-9250 LB 60CP
  276       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-9250 LB 60CP
  277       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-9250 LB 60CP
  278       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-IN027 PM 8CP
  279       EE6-8110468-7   12/3/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-V90 LB 15CP
  280       EE6-8110559-3   12/8/2008 2809-10-100164         4/7/2010 6/24/2010 TArF-7a
  281       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TArF-6a
  282       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TArF-6a
  283       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P6239 ME 1.65CP
  284       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P6239 ME 1.6CP
  285       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P7047 EM 3.7CP
  286       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P7047 EM 3.7CP
  287       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P7050 EM 2.5CP
  288       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P7144 ME 1.8CP
  289       EE6-8110599-9 12/10/2008 2809-10-100164          4/7/2010 6/24/2010 TARF-P7144 ME 1.8CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                 9/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 16 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B            C               D               E           F                       G


                                                        Protest      Protest
  1          Entry Num    Entry Date Protest No         Date         Denied                  Description
 290       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P7144 ME 1.8CP
 291       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P9009 LA
 292       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-TF-05 LA 24CP
 293       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TCIR-ZR8800 PB
 294       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TCIR-ZR8800 PB
 295       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR5200 HL 3.7CP
 296       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR65 HP 11CP
 297       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR65 HP 11CP
 298       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR65 HP 11CP
 299       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 48CP
 300       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 48CP
 301       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P015 PM 8CP
 302       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P419 PM 3.7CP
 303       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P419 PM 3.7CP
 304       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P501B PM 4CP
 305       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P603B PM 9CP
 306       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P603B PM 9CP
 307       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6119 EL 8CP
 308       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6137 EL 6.7CP
 309       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6137 EL 6.7CP
 310       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6137 EL 6.7CP
 311       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6137 EL 6.7CP
 312       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6159 EL 65CP
 313       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178 EL 5.2CP
 314       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178 EL 5.2CP
 315       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178F EL 6.8CP
 316       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178F EL 6.8CP
 317       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178F EL 6.8CP
 318       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178F EL 9CP
 319       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178F EL 9CP
 320       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178F EL 9CP
 321       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P628 EL 25CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          10/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 17 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B            C               D               E           F                       G


                                                        Protest      Protest
  1          Entry Num    Entry Date Protest No         Date         Denied                  Description
 322       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7147 EL 8.1CP
 323       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7147 EL 8.1CP
 324       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P722D35 EL 5.3CP
 325       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P722D35 EL 6.5CP
 326       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P722D35 EL 6.5CP
 327       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P722D36 EL 6.5CP
 328       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P802 HP 2.9CP
 329       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP2000 EP 15CP
 330       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP2690 LB 48CP
 331       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP5700 HP 14CP
 332       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP5720 HP 14CP
 333       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP5720 HP 23CP
 334       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP9600 HP 8CP
 335       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP9600 HP 8CP
 336       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 THMR-IP9650 HP 5CP
 337       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-9250 LB 60CP
 338       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-CR 50I15 EP 30CP
 339       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-CR 50I15 EP 30CP
 340       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-IN022 PM 18CP
 341       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-IN027 PM 2.6CP
 342       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-IN032 MG 6.4CP
 343       EE6-8110599-9 12/10/2008 2809-10-100164         4/7/2010 6/24/2010 TSMR-IN032 MG 8.5CP
 344   EE6-8110599-9 12/10/2008 2809-10-100164             4/7/2010 6/24/2010 TSMR-IN032 MG 8.5CP
 345
     * EE6-8110735-9 12/17/2008 2809-10-100164             4/7/2010 6/24/2010 EP-052 ME
 346
     * EE6-8110735-9 12/17/2008 2809-10-100164             4/7/2010 6/24/2010 EP-052A5 ME
 347       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 EUVR-P1123 ME
 348       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 EUVR-P1123 ME
 349       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TArF-8a
 350       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P5071 EM 2.9CP
 351       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P5071 EM 2.9CP
 352       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P5071SM EM 2.2CP
 353       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P5071SM EM 2.2CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          11/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 18 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B            C               D              E            F                      G


                                                        Protest      Protest
  1          Entry Num    Entry Date Protest No         Date         Denied                 Description
 354       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P6111 ME 1.9CP
 355       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P6239 ME 1.55CP
 356       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P7066 EM 2.6CP
 357       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P7066 EM 2.6CP
 358       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P8000 LP 2.1CP
 359       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TARF-P8000 LP 2.1CP
 360       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR100 HL 5CP
 361       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 25CP
 362       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 25CP
 363       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR87 LB 25CP
 364       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR89 LB
 365       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR89 LB 14CP
 366       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDMR-AR89 LB 14CP
 367       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P3435 LP 2.7CP
 368       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P3435 LP 3.1CP
 369       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P3435 LP 3.1CP
 370       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P5107 EL 5.6CP
 371       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P534 EL 8CP
 372       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P603B PM 9CP
 373       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P603B PM 9CP
 374       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6159 EL 22CP
 375       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178 EL 6.7CP
 376       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P6178 EL 6.7CP
 377       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7117 EL 8CP
 378       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7117 EL 8CP
 379       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7117 EL 8CP
 380       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7133M EL 10.7CP
 381       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7133M EL 10.7CP
 382       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7133M EL 7.2CP
 383       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-P7133M EL 7.2CP
 384       EE6-8110735-9 12/17/2008 2809-10-100164         4/7/2010 6/24/2010 TDUR-PEX4 PM 11CP
 385
       * EE6-8110735-9 12/17/2008 2809-10-100164           4/7/2010 6/24/2010 TEUV
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                       12/35
           Case 1:10-cv-00243-TCS            Document 49          Filed 11/08/24         Page 19 of 41
                                         Tokyo Ohka Kogyo America, Inc.
                                               Court No. 10-00243
                                                  Schedule B

      A         B             C               D              E            F                       G


                                                        Protest      Protest
  1         Entry Num     Entry Date Protest No         Date         Denied                 Description
386       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 THMR-IP3600 HP D2
387       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 THMR-IP3650 HP 5CP
388       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 THMR-IP8350 LB 23CP
389       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 TMR-P15M2 PM 2.7CP
390       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 TMR-P15M3 PM 3.8CP
391       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 TMR-P15M4 PM 10.5CP
392       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 TSMR-8900 MD-2 LB 50CP
393       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 TSMR-8900 MD-2 LB 50CP
394       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 TSMR-V90 LB 15CP
395       EE6-8110735-9 12/17/2008 2809-10-100164          4/7/2010 6/24/2010 TSMR-V90 LB 19CP
396       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 DP-4413 PM
397       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 DP-6205 Tr1 EL
398       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 DP-7152 EL
399       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-5A
400       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TArF-6a
401       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-6A-226TR6 ME
402       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P1
403       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P5071 EM 4.8CP
404       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P6111 ME 2.1CP
405       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P6239 ME 1.75CP
406       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P7047 EM 4CP
407       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P7050 EM 2.8CP
408       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P9009 LA 11CP
409       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-P9009 LA 34.8CP
410       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TArF-PP
411       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TARF-TF-05 LA 24CP
412       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TCIR-ZR8800 PB
413       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TCIR-ZR8800 PB
414       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P3435 LP 3.1CP
415       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P3435 LP 3.1CP
416       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P3435 LP 3.1CP
417       EE6-8110921-5    1/7/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P501B PM 4CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          13/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 20 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D              E            F                      G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                 Description
 418       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P601B PM 4CP
 419       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6193 EL 11.8CP
 420       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P628 EL 25CP
 421       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P7147 EL 10.1CP
 422       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P7147 EL 10.1CP
 423       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P7147 EL 8.1CP
 424       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P7147 EL 8.1CP
 425       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TGMR-DP011 AE 47CP
 426       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TGMR-DP011 AE 47CP
 427       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 THMR-IP3100HS LB 15CP
 428       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 THMR-IP3600 HP D2
 429       EE6-8110921-5    1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TSMR-CR50I15 EP 30CP
 430   EE6-8110921-5        1/7/2009 2809-10-100225        5/5/2010 6/24/2010 TSMR-V50 EL 35CP
 431
     * EE6-8111149-2       1/12/2009 2809-10-100225        5/5/2010 6/24/2010 DN-191 ME
 432       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 EUVR-P
 433
       * EE6-8111149-2     1/12/2009 2809-10-100225        5/5/2010 6/24/2010 OEBR-CAP130T4 PM 1.8CP
 434       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-6a
 435       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-6A-226TR10 ME 150/1500
 436       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-ITTF
 437       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P
 438       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P6111 ME 1.7CP
 439       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P6239 ME 1.75CP
 440       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P7047 EM 3.7CP
 441       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P7047 EM 3.7CP
 442       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TDMR-AR87 LB 30CP
 443       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P015 PM 8CP
 444       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P419 PM 3.7CP
 445       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6119 EL 8CP
 446       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6159 EL 65CP
 447       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 THMR-IP1800 EP 15CP
 448       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 THMR-IP2000 EP 15CP
 449     EE6-8111149-2 1/12/2009 2809-10-100225              5/5/2010 6/24/2010 THMR-IP3300 LB 5CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                       14/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 21 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 450       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TMR-P15M1 PM 1.9CP
 451       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TSMR-IN027 PM 8CP
 452       EE6-8111149-2   1/12/2009 2809-10-100225        5/5/2010 6/24/2010 TSMR-IN032 MG 6.4CP
 453       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 EUVR-P
 454       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-7a-482
 455       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-7a-482
 456       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-7a-527
 457       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-ITTF
 458       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P16-001 ME
 459       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P6239 ME 1.6CP
 460       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-TF-05 LA 24CP
 461       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TCIR-ZR8800 PB 40CP
 462       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TDMR-AR65 HP 11CP
 463       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6178F EL 6.8CP
 464       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6178F EL 9CP
 465       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TGMR-DP011 AE 80CP
 466       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TSCR-110I15LB 17CP
 467       EE6-8111313-4   1/21/2009 2809-10-100225        5/5/2010 6/24/2010 TSCR-130I15 HL 5.5CP
 468       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 DP-6214 EL 365mm/1500rpm
 469       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 OFPR-PR13 PM 80CP
 470       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 OMR 83 25CP
 471       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 OMR 83 25CP
 472       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 OMR 83 25CP
 473       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-6a
 474       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-7a
 475       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TArF-8a
 476       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TARF-P7052 EM 5.3CP
 477       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TCIR-ZR8800 PB 40CP
 478       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TCIR-ZR8800 PB 40CP
 479       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P3116 EM
 480       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P3435 LP 4.1CP
 481       EE6-8111453-8   1/27/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P3435 LP 4.1CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          15/35
            Case 1:10-cv-00243-TCS             Document 49           Filed 11/08/24         Page 22 of 41
                                           Tokyo Ohka Kogyo America, Inc.
                                                 Court No. 10-00243
                                                    Schedule B

       A         B             C               D               E            F                        G


                                                          Protest      Protest
  1          Entry Num     Entry Date Protest No          Date         Denied                  Description
 482       EE6-8111453-8   1/27/2009 2809-10-100225          5/5/2010 6/24/2010 TDUR-P3435 LP 4.1CP
 483       EE6-8111453-8   1/27/2009 2809-10-100225          5/5/2010 6/24/2010 TDUR-P6137 EL 8.7CP
 484       EE6-8111453-8   1/27/2009 2809-10-100225          5/5/2010 6/24/2010 TDUR-P6193 EL 11.8CP
 485       EE6-8111453-8   1/27/2009 2809-10-100225          5/5/2010 6/24/2010 TDUR-P6193 EL 11.8CP
 486       EE6-8111453-8   1/27/2009 2809-10-100225          5/5/2010 6/24/2010 TDUR-P7117 EL 14CP
 487       EE6-8111453-8   1/27/2009 2809-10-100225          5/5/2010 6/24/2010 TDUR-P7117 EL 14CP
 488
       * EE6-8111579-0       2/3/2009 2809-10-100225         5/5/2010 6/24/2010 EP-058Tr4
 489
     * EE6-8111579-0         2/3/2009 2809-10-100225         5/5/2010 6/24/2010 EP-058Tr5
 490       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 EUVR
 491
       * EE6-8111579-0       2/3/2009 2809-10-100225         5/5/2010 6/24/2010 SEP
 492
     * EE6-8111579-0         2/3/2009 2809-10-100225         5/5/2010 6/24/2010 SEP
 493       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TArF-6a-730 ME
 494       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TArF-6a-798 ME
 495       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TDMR-AR5300 HP 2CP
 496       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P3435 LP 4.1CP
 497       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P6178 EL 5.2CP
 498       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P7147 EL 10.1CP
 499       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P7147 EL 10.1CP
 500       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P7147 EL 10.1CP
 501       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TDUR-P7147 EL 8.1CP
 502       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 TGMR-DP011 AE 200CP
 503       EE6-8111579-0     2/3/2009 2809-10-100225         5/5/2010 6/24/2010 THMR-IP3600 HP D2
 504       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 ITAP-80501
 505       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TARF-6A-226TR6 ME
 506       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TARF-6A-226TR6 ME
 507       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TArF-7a-527 ME
 508       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TArF-8a-32 ME
 509       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TARF-P5070 ME 2.3CP
 510       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TARF-P7047 EM 4CP
 511       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TArF-PP006
 512       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TDMR-AR65 HP 11CP
 513       EE6-8111718-4   2/10/2009 2809-10-100225          5/5/2010 6/24/2010 TDMR-AR80 HP 6CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                           16/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 23 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 514       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDMR-AR87 LB 30CP
 515       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDMR-AR87 LB 30CP
 516       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-N700 GP 4.6CP
 517       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P015 PM 8CP
 518       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6159 EL 36CP
 519       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6159 EL 65CP
 520       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6178 EL 5.2CP
 521       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P6193 EL 11.8CP
 522       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-P722D35 EL 5.3CP
 523       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TDUR-PEX3 PM 7CP
 524       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 THMR-IP2000 EP 15CP
 525       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 THMR-IP3650 HP 4CP
 526       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TSCR-110I15LB 17CP
 527       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TSCR-110I15LB 17CP
 528       EE6-8111718-4   2/10/2009 2809-10-100225        5/5/2010 6/24/2010 TSMR-CR50I15 EP 30CP
 529       EE6-8111802-6   2/16/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 48CP
 530   EE6-8111802-6       2/16/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 48CP
 531
     * EE6-8111831-5       2/17/2009 2809-10-100319        7/1/2010 7/23/2010 CRBR-S116
 532       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 DP-5119 EL
 533       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 DP-5119 EL
 534       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 DP-6216 EL
 535       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 DP-6217 EL
 536       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 DP-6218 EL
 537       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 DP-7152 EL
 538       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 DP-7152 EL
 539       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 OMR 83 SS 25CP
 540       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a-725
 541       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P5071 EM 4.8CP
 542       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6111 ME 1.9CP
 543       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 2.4CP
 544       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7144 ME 1.8CP
 545       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-PP006
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          17/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 24 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 546       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-TF-05 LA 24CP
 547       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6159 EL
 548       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6193 EL
 549       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TGMR-DP011 AE
 550       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3500 HP 5CP
 551       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP5700 HP 14CP
 552       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP5720 HP 23CP
 553       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TMR-P15M2 PM 2.7CP
 554       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-8900 MD-2 LB 50CP
 555       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN008 D2 PM 4CP
 556       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN008 D2 PM 4CP
 557       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN008 PM 10CP
 558       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN009 PM 30CP
 559       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN027 PM 3.5CP
 560       EE6-8111831-5   2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN029 PM 30CP
 561   EE6-8111831-5       2/17/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-V50 EL 35CP
 562
     * EE6-8111877-8       2/19/2009 2809-10-100319        7/1/2010 7/23/2010 TMMF S2018 A4size
 563
     * EE6-8111877-8       2/19/2009 2809-10-100319        7/1/2010 7/23/2010 TMMR S2000
 564   EE6-8111933-9       2/23/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-PI
 565
     * EE6-8111966-9       2/24/2009 2809-10-100319        7/1/2010 7/23/2010 OEBR-CAP138 PM 1.35CP
 566       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
 567       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P
 568       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P
 569       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P
 570       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P
 571       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6100 EM 3CP
 572       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7070 EM 2.2CP
 573       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P8005 LP 2.4CP
 574       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P8019 LP 2.4CP
 575       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P9009 LA 11CP
 576       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P9009 LA 34.8CP
 577       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-TAI
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          18/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 25 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 578       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
 579       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-N777 EM 3.6CP
 580       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P3435 LP 3.1cp
 581       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 582       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P603B PM 16CP
 583       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6159 EL 22CP
 584       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 11.4CP
 585       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 11.4CP
 586       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 6.8CP
 587       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 9CP
 588       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P628 EL 25CP
 589       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
 590       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
 591       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
 592       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TGMR-DP011 AE 200CP
 593       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3500 HP 2CP
 594       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN027 PM 8CP
 595       EE6-8111966-9   2/24/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN032 MG 8.5CP
 596       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 597       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 598       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 599
       * EE6-8112107-9      3/4/2009 2809-10-100319        7/1/2010 7/23/2010 OEBR-CAP130T4 PM 1.8CP
 600       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 OFPR-PR13 PM 80CP
 601       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-8a
 602       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-8a
 603       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6100 EM 3.4CP
 604       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6100 EM 4.2CP
 605       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7050 EM 3.2CP
 606       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7052 EM 6.3CP
 607       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-PP007
 608       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178 EL 6.7CP
 609       EE6-8112107-9    3/4/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178 EL 6.7CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          19/35
            Case 1:10-cv-00243-TCS             Document 49           Filed 11/08/24         Page 26 of 41
                                           Tokyo Ohka Kogyo America, Inc.
                                                 Court No. 10-00243
                                                    Schedule B

       A         B             C               D               E            F                        G


                                                          Protest      Protest
  1          Entry Num     Entry Date Protest No          Date         Denied                   Description
 610       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P6178 EL 6.7CP
 611       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
 612       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
 613       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
 614       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7133M EL 7.2CP
 615       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7133M EL 7.2CP
 616       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TSCR-130I15 HL 5.5CP
 617       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TSCR-97I10 LB 17CP_ENG_1QT
 618       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-CR50I15 EP 30CP
 619       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-V50 EL 60CP
 620       EE6-8112107-9     3/4/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-V50 EL 9CP
 621
       * EE6-8112153-3       3/5/2009 2809-10-100319         7/1/2010 7/23/2010 TMMF S2010 220mm x 25m
 622       EE6-8112212-7     3/9/2009 2809-10-100319         7/1/2010 7/23/2010 TARF-6A-226 TR10ME150/1500
 623       EE6-8112212-7     3/9/2009 2809-10-100319         7/1/2010 7/23/2010 TARF-6A-226 TR10ME150/1500
 624       EE6-8112212-7     3/9/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7147 EL 10.1CP
 625   EE6-8112212-7         3/9/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7147 EL 8.1CP
 626
     * EE6-8112238-2       3/11/2009 2809-10-100319          7/1/2010 7/23/2010 PMER DEVELOPER P-6G
 627       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P16-001 ME 1.4CP
 628       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7050 EM 2.8CP
 629       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
 630       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
 631       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB
 632       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB
 633       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM 8CP
 634       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6159 EL 65CP
 635       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
 636       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
 637       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-IN029 PM 30CP
 638       EE6-8112238-2   3/11/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-IN029 PM 30CP
 639 * EE6-8112378-6       3/18/2009 2809-10-100319          7/1/2010 7/23/2010
 640 * EE6-8112481-8       3/25/2009 2809-10-100319          7/1/2010 7/23/2010 DN-196 ME
 641       EE6-8112481-8   3/25/2009 2809-10-100319          7/1/2010 7/23/2010 DP-6220 ME
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously been
granted and no further relief is due.                                                                                20/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 27 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 642       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 DP-6221 LP
 643       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 DP-6222 LP
 644
       * EE6-8112481-8     3/25/2009 2809-10-100319        7/1/2010 7/23/2010 EUVRGA
 645
       * EE6-8112481-8     3/25/2009 2809-10-100319        7/1/2010 7/23/2010 EUVRGA
 646
     * EE6-8112481-8       3/25/2009 2809-10-100319        7/1/2010 7/23/2010 EUVRGA
 647
       * EE6-8112481-8     3/25/2009 2809-10-100319        7/1/2010 7/23/2010 EUVRGA
 648       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 649       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 OMR 83 25CP
 650       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 PMER N-CA3000 PM
 651       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P16-001 ME 1.4CP
 652       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-PI
 653       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 18CP
 654       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM
 655       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 9CP
 656       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P722D35 EL 5.3CP
 657       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P722D35 EL 6.5CP
 658       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P722D35 EL 6.5CP
 659       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3600 HP D2
 660       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP9600 HP 6.5CP
 661       EE6-8112481-8   3/25/2009 2809-10-100319        7/1/2010 7/23/2010 TSCR-110I15LB 17CP
 662       EE6-8112611-0   3/30/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-7a
 663   EE6-8112611-0       3/30/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P
 664
     * EE6-8112641-7       3/31/2009 2809-10-100319        7/1/2010 7/23/2010 EP
 665       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 OFPR-800 LB 34CP
 666       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 OMR 83 30CP
 667       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 PMER P-CA2000 PM
 668       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
 669       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-8a
 670       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6111 ME 1.7CP
 671       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
 672       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
 673       EE6-8112641-7   3/31/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7067 EM 3.4CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          21/35
           Case 1:10-cv-00243-TCS            Document 49           Filed 11/08/24        Page 28 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

      A         B             C               D              E            F                       G


                                                        Protest      Protest
  1         Entry Num     Entry Date Protest No         Date         Denied                  Description
674       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TARF-TF-05 LA 24CP
675       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TARF-TF-05 LA 24CP
676       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P015 PM 7CP
677       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P015 PM 7CP
678       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
679       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
680       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P6159 EL 22CP
681       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P6178 EL 5.2CP
682       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P6193 EL 11.8CP
683       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7147 EL 8.1CP
684       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7147 EL 8.1CP
685       EE6-8112641-7   3/31/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-8800 BE 50CP
686
      * EE6-8112785-2       4/7/2009 2809-10-100319        7/1/2010 7/23/2010 EP-052 ME
687       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P1123 ME 60NM/2500RPM
688       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P1123 ME 90NM/1500RPM
689       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 PMER N-CA3000 PM
690       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 PMER P-CH3000 PM
691       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
692       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-ITTF
693       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-ITTF
694       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P5071 EM 4.8CP
695       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7050 EM 2.8CP
696       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7050 EM 3.2CP
697       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7050 EM 3.2CP
698       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
699       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
700       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
701       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-N720 ME 2CP
702       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM
703       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 13CP
704       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 9CP
705       EE6-8112785-2     4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 9CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          22/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 29 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 706       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P3435 LP 3.1CP
 707       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P3435 LP 3.1CP
 708       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P3435 LP 3.1CP
 709       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 710       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6119 EL 8CP
 711       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6119 EL 8CP
 712       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6158 EL
 713       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7117 EL
 714       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7117 EL
 715       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7117 EL
 716       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TGMR-DP011 AE
 717       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TGMR-DP011 AE 200CP
 718       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TMR-P15M3 PM 3.8CP
 719       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-CR50I15 EP 30CP
 720       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN032 MG 8.5CP
 721       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN032 MG 8.5CP
 722       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-V50 EL 35CP
 723       EE6-8112785-2    4/7/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-V90 LB 15CP
 724       EE6-8112870-2   4/13/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6100 EM 4.2CP
 725   EE6-8112870-2       4/13/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR5300 HP 1.67CP
 726
     * EE6-8112937-9       4/14/2009 2809-10-100319        7/1/2010 7/23/2010 EUVRGA
 727       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
 728       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-7a
 729       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-8a
 730       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P
 731       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P16-001 ME 1.37CP
 732       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
 733       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
 734       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
 735       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
 736       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
 737       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P8000 LP 2.1CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          23/35
            Case 1:10-cv-00243-TCS            Document 49          Filed 11/08/24         Page 30 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 738       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P8000 LP 2.1CP
 739       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-TAI
 740       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 25CP
 741       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 25CP
 742       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 25CP
 743       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR89 LB
 744       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR89 LB 14CP
 745       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-N700 GP 4.6CP
 746       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 8CP
 747       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P3435 LP 4.1CP
 748       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P3435 LP 4.1CP
 749       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
 750       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
 751       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
 752       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
 753       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P419 PM 3.7CP
 754       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6159 EL 65CP
 755       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TGMR-EN103 PE 2.5CP
 756       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 TGMR-EN103 PE 3.6CP
 757       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP2000 EP 15CP
 758       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
 759       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
 760       EE6-8112937-9   4/14/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
 761       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 762   EE6-8113091-4       4/22/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 763
     * EE6-8113091-4       4/22/2009 2809-10-100319        7/1/2010 7/23/2010 ITKP-001 PM
 764
     * EE6-8113091-4       4/22/2009 2809-10-100319        7/1/2010 7/23/2010 ODUR 1010A
 765
       * EE6-8113091-4     4/22/2009 2809-10-100319        7/1/2010 7/23/2010 ODUR 1010A
 766
       * EE6-8113091-4     4/22/2009 2809-10-100319        7/1/2010 7/23/2010 OEBR-CAP130T4 PM 1.8CP
 767       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 PMER N-CA3000 PM
 768       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-6A-226 TR10ME150/1500
 769       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-6A-226 TR10ME150/1500
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          24/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 31 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 770       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6239 ME
 771       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P9009 LA 34.8CP
 772       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 15CP
 773       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 7CP
 774       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 7CP
 775       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 6.8CP
 776       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 9CP
 777       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7133M EL 7.2CP
 778       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7133M EL 7.2CP
 779       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7133M EL 7.2CP
 780       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7147 EL 10.1CP
 781       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7147 EL 10.1CP
 782       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7147 EL 8.1CP
 783       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P7147 EL 8.1CP
 784       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P722 EL 11CP
 785       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TGMR-DP011 AE
 786       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP9600 HP 6.5CP
 787       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TSCR-110I15LB 17CP
 788       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TSCR-110I15LB 17CP
 789       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-CR50I15 EP 30CP
 790       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN027 PM 3.5CP
 791       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN029 PM 30CP
 792       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN029 PM 30CP
 793       EE6-8113091-4   4/22/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-V90 LB 19CP
 794
       * EE6-8113252-2     4/28/2009 2809-10-100319        7/1/2010 7/23/2010 EP-061 ME
 795
     * EE6-8113252-2       4/28/2009 2809-10-100319        7/1/2010 7/23/2010 EP-062S ME
 796       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 797       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 798       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 799       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 800
       * EE6-8113252-2     4/28/2009 2809-10-100319        7/1/2010 7/23/2010 ITKP-201 ME
 801
       * EE6-8113252-2     4/28/2009 2809-10-100319        7/1/2010 7/23/2010 OEBR-CAP112 PM 3.8CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          25/35
            Case 1:10-cv-00243-TCS             Document 49           Filed 11/08/24         Page 32 of 41
                                           Tokyo Ohka Kogyo America, Inc.
                                                 Court No. 10-00243
                                                    Schedule B

       A         B             C               D                E           F                        G


                                                          Protest      Protest
  1          Entry Num     Entry Date Protest No          Date         Denied                   Description
 802       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 OMR 83 25CP
 803       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 OMR 83 25CP
 804       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-6a
 805       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-6a
 806       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-7a
 807       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-7a
 808       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-8a
 809       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P
 810       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P5071 EM 2.9CP
 811       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P5071SM EM 2.2CP
 812       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P6100 EM 4.2CP
 813       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P6100 EM 4.2CP
 814       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7052 EM 5.3CP
 815       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P8005 LP 2.4CP
 816       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
 817       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
 818       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB 30CP
 819       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB 48CP
 820       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB 48CP
 821       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR89 LB
 822       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR89 LB 14CP
 823       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR89 LB 14CP
 824       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM 13CP
 825       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM 9CP
 826       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM 9CP
 827       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 828       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 829       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 830       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6119 EL 8CP
 831       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P722D35 EL 6.5CP
 832       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 TGMR-DP011 AE
 833       EE6-8113252-2   4/28/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP2370 LB
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                           26/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 33 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 834       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP2370 LB 28CP
 835       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3600 HP D2
 836       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
 837       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
 838       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-CR 50I15 EP 30CP
 839       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-CR50I15 EP 30CP
 840       EE6-8113252-2   4/28/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN027 PM 8CP
 841       EE6-8113425-4    5/8/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP2000 EP 15CP
 842       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-6A
 843       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-6A-730 ME 100/1500
 844       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-6A-730 ME 100/1500
 845       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7047 EM 4CP
 846       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
 847       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3680 HL 10CP
 848       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3680 HL 10CP
 849       EE6-8113427-0   5/11/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3680 HL 10CP
 850       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 DP-6223 EL
 851       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 PMER N-CA3000 PM
 852       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
 853       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
 854       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
 855       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-6a
 856       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-7a
 857       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-8a
 858       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-8a
 859       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P5071 EM 2.9CP
 860       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6100 EM 3.4CP
 861       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6239 ME 1.55CP
 862       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7050 EM 2.8CP
 863       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-PP
 864       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-PP
 865       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-TAI
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          27/35
            Case 1:10-cv-00243-TCS           Document 49           Filed 11/08/24        Page 34 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

       A         B             C              D               E           F                       G


                                                        Protest      Protest
  1          Entry Num     Entry Date Protest No        Date         Denied                  Description
 866       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TArF-TAI
 867       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-TF-05 LA 24CP
 868       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
 869       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P015 PM 8CP
 870       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6159 EL 65CP
 871       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 11.4CP
 872       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P6178F EL 11.4CP
 873       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-PEX3 D20 PM 7CP
 874       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 THMR-IP3600 HP D2
 875       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TSCR-110I15LB 17CP
 876       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN022 PM 18CP
 877       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-IN032 MG 8.5CP
 878       EE6-8113501-2   5/12/2009 2809-10-100319        7/1/2010 7/23/2010 TSMR-V90 LB 15CP
 879       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 DP-7152 EL
 880       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 DP-7152 EL
 881       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 EUVR-P
 882       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-7A-527 ME 90/1500
 883       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P5071 EM 4.8CP
 884       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6111 ME 1.9CP
 885       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P6111 ME 2.1CP
 886       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7050 EM 2.5CP
 887       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7050 EM 2.5CP
 888       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7144 ME 1.8CP
 889       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7144 ME 1.8CP
 890       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P7144 ME 1.8CP
 891       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TARF-P8019 LP 2.4CP
 892       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
 893       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
 894       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TDMR-AR87 LB 48CP
 895       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
 896       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
 897       EE6-8113679-6   5/19/2009 2809-10-100319        7/1/2010 7/23/2010 TDUR-P4167 EM 8CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          28/35
             Case 1:10-cv-00243-TCS           Document 49          Filed 11/08/24        Page 35 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

        A         B             C             D               E           F                       G


                                                        Protest      Protest
   1          Entry Num     Entry Date Protest No       Date         Denied                  Description
  898       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P419 PM 3.7CP
  899       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P603B PM
  900       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P7147 EL 8.1CP
  901       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P7147 EL 8.1CP
  902       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 THMR-IP2600 LB 36CP
  903       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 THMR-IP5700 HP 60CP
  904       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 THMR-IP5700 HP 60CP
  905       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSCR-110I15LB 17CP
  906       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-8900 MD-2 LB 50CP
  907       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-8900 MD-2 LB 50CP
  908       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-CR 50I15 EP 30CP
  909       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-CR50I15 EP 30CP
  910       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-CR50I15 EP 30CP
  911       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-IN008 D2 PM 4CP
  912       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-IN008 D2 PM 4CP
  913       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-IN008 PM 10CP
  914       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-IN008 PM 10CP
  915       EE6-8113679-6   5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-IN027 PM 8CP
  916   EE6-8113679-6       5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-IN027 PM 8CP
  917
      * EE6-8113679-6       5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSP-IL2500
  918
      * EE6-8113679-6       5/19/2009 2809-10-100319       7/1/2010 7/23/2010 TSP-IL2500
  919
        * EE6-8113832-1     5/25/2009 2809-10-100319       7/1/2010 7/23/2010 SEP
  920
      * EE6-8113832-1       5/25/2009 2809-10-100319       7/1/2010 7/23/2010 SEP
  921       EE6-8113832-1   5/25/2009 2809-10-100319       7/1/2010 7/23/2010 TArF-8a
  922       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P16-133 ME 1.4cp
  923       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P6239 ME 1.55CP
  924       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P7052 EM 5.3CP
  925       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P7070 EM 2.2CP
  926       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TArF-PI
  927       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-TF-05 LA 24CP
  928       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
  929       EE6-8113866-9   5/26/2009 2809-10-100319       7/1/2010 7/23/2010 TCIR-ZR8800 PB 40CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                       29/35
            Case 1:10-cv-00243-TCS             Document 49           Filed 11/08/24         Page 36 of 41
                                           Tokyo Ohka Kogyo America, Inc.
                                                 Court No. 10-00243
                                                    Schedule B

       A         B             C               D                E           F                        G


                                                          Protest      Protest
  1          Entry Num     Entry Date Protest No          Date         Denied                   Description
 930       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR5300 HP 1.67CP
 931       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM
 932       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM 9CP
 933       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P501B PM 4CP
 934       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 935       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 936       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 937       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
 938       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6193 EL 11.8CP
 939       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6193 EL 11.8CP
 940       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6193 EL 11.8CP
 941       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P628 EL 25CP
 942       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P628 EL 25CP
 943       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P7117 EL 11CP
 944       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P7117 EL 14CP
 945       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-PEX3 D70 PM 7CP
 946       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP2000 EP 15CP
 947       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP2370 LB
 948       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP2370 LB 28CP
 949       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP3500 HP 5CP
 950       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP9600 HP 4.5CP
 951       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-9250 LB 60CP
 952       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-9250 LB 60CP
 953       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-9250 LB 60CP
 954       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-IN009 PM 30CP
 955       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-IN027 PM 3.5CP
 956       EE6-8113866-9   5/26/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-IN032 MG 8.5CP
 957
       * EE6-8114060-8       6/2/2009 2809-10-100319         7/1/2010 7/23/2010 CRBR-S118
 958       EE6-8114060-8     6/2/2009 2809-10-100319         7/1/2010 7/23/2010 EUVR-P
 959       EE6-8114060-8     6/2/2009 2809-10-100319         7/1/2010 7/23/2010 EUVR-UA
 960       EE6-8114060-8     6/2/2009 2809-10-100319         7/1/2010 7/23/2010 EUVR-UA
 961       EE6-8114060-8     6/2/2009 2809-10-100319         7/1/2010 7/23/2010 OFPR-PR13 PM 80CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                           30/35
             Case 1:10-cv-00243-TCS           Document 49          Filed 11/08/24        Page 37 of 41
                                          Tokyo Ohka Kogyo America, Inc.
                                                Court No. 10-00243
                                                   Schedule B

        A         B             C             D               E           F                       G


                                                        Protest      Protest
   1          Entry Num     Entry Date Protest No       Date         Denied                  Description
  962       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
  963       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P7047 EM 3.7CP
  964       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P7047 EM 4CP
  965       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDMR-AR5200 HL 3.7CP
  966       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
  967       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDMR-AR87 LB 25CP
  968       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDMR-AR87 LB 25CP
  969       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDMR-AR89 LB 14CP
  970       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P015 PM 13CP
  971       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P534 EL 8CP
  972       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P534 EL 8CP
  973       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P603B PM 9CP
  974       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P603B PM 9CP
  975       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P603B PM 9CP
  976       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P603B PM 9CP
  977       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P603B PM 9CP
  978       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P603B PM 9CP
  979       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6119 EL 8CP
  980       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6137 EL 8.7CP
  981       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6178 EL 5.2CP
  982       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6178 EL 5.2CP
  983       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6178 EL 5.2CP
  984       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6178 EL 6.7CP
  985       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6178 EL 6.7CP
  986       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P7133M EL 7.2CP
  987       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P7133M EL 7.2CP
  988       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 THMR-IP2690 LB 48CP
  989       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
  990       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TMR-P15 PM
  991       EE6-8114060-8    6/2/2009 2809-10-100319       7/1/2010 7/23/2010 TSMR-V50 EL 35CP
  992
        * EE6-8114238-0      6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TMMF S2010 220mm X 25m
  993
        * EE6-8114238-0      6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TMMR S2000
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in the
specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                       31/35
            Case 1:10-cv-00243-TCS           Document 49          Filed 11/08/24         Page 38 of 41
                                         Tokyo Ohka Kogyo America, Inc.
                                               Court No. 10-00243
                                                  Schedule B

       A         B             C             D               E           F                       G


                                                       Protest      Protest
 1           Entry Num     Entry Date Protest No       Date         Denied                  Description
994        EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 DP-6225 PL
995        EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 DP-6226 EL
996
       * EE6-8114239-8      6/9/2009 2809-10-100319       7/1/2010 7/23/2010 OEBR
997
       * EE6-8114239-8      6/9/2009 2809-10-100319       7/1/2010 7/23/2010 OEBR-CAP112 PM 3.8CP
998
    * EE6-8114239-8         6/9/2009 2809-10-100319       7/1/2010 7/23/2010 SEP
999
       * EE6-8114239-8      6/9/2009 2809-10-100319       7/1/2010 7/23/2010 SEP
1000
       * EE6-8114239-8      6/9/2009 2809-10-100319       7/1/2010 7/23/2010 SEP
1001       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TArF-6a
1002       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-6A-707TR.A.ME
1003       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TArF-7a
1004       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P7144 ME 1.8CP
1005       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TARF-P7144 ME 1.8CP
1006       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDMR-AR87 LB 15CP
1007       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDMR-AR89 LB
1008       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-N700 GP 4.6CP
1009       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-N720 ME 2CP
1010       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P015 PM 7CP
1011       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P015 PM 8CP
1012       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P419 PM 3.7CP
1013       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6119 EL 8CP
1014       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6119 EL 8CP
1015       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6159 EL 22CP
1016       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6159 EL 36CP
1017       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P6159 EL 65CP
1018       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P628 EL 25CP
1019       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P628 EL 25CP
1020       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P7126 EL 11CP
1021       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
1022       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
1023       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P722 EL 11CP
1024       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P722 EL 11CP
1025       EE6-8114239-8    6/9/2009 2809-10-100319       7/1/2010 7/23/2010 TDUR-P722D35 EL 5.3CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has
previously been granted and no further relief is due.                                                          32/35
            Case 1:10-cv-00243-TCS             Document 49           Filed 11/08/24         Page 39 of 41
                                           Tokyo Ohka Kogyo America, Inc.
                                                 Court No. 10-00243
                                                    Schedule B

       A         B             C               D               E            F                        G


                                                          Protest      Protest
  1          Entry Num     Entry Date Protest No          Date         Denied                  Description
1026       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP2000 EP 15CP
1027       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP5700 HP 14CP
1028       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP8350 LB 23CP
1029       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 TMR-P15M1 PM 1.9CP
1030       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 TMR-P15M3 PM 3.8CP
1031       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 TSCR-110I15LB 17CP
1032       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-IN022 PM
1033       EE6-8114239-8     6/9/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-V90 LB 15CP
1034       EE6-8114309-9   6/11/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-PP
1035
       * EE6-8114434-5     6/17/2009 2809-10-100319          7/1/2010 7/23/2010 DN-196 ME
1036       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 DP-7152 EL
1037       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 DP-7152 EL
1038       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 DP-7152 EL
1039  EE6-8114434-5        6/17/2009 2809-10-100319          7/1/2010 7/23/2010 EUVR-P
    *
1040 EE6-8114434-5         6/17/2009 2809-10-100319          7/1/2010 7/23/2010 SEP
1041       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P6100 EM 3CP
1042       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7047 EM 4CP
1043       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7050 EM 2.5CP
1044       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7050 EM 2.5CP
1045       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7144 ME 1.8CP
1046       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P8005 LP 2.4CP
1047       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-PP
1048       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-TAI
1049       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB 48CP
1050       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB 48CP
1051       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR89 LB
1052       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR89 LB 14CP
1053       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR89 LB 14CP
1054       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-N777 EM 8CP
1055       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM
1056       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P015 PM 9CP
1057       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P5107 EL 5.6CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                           33/35
            Case 1:10-cv-00243-TCS             Document 49           Filed 11/08/24         Page 40 of 41
                                           Tokyo Ohka Kogyo America, Inc.
                                                 Court No. 10-00243
                                                    Schedule B

       A         B             C               D               E            F                        G


                                                          Protest      Protest
  1          Entry Num     Entry Date Protest No          Date         Denied                  Description
1058       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6158 EL 16.7CP
1059       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6158 EL 16.7CP
1060       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6178 EL 6.7CP
1061       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6178 EL 6.7CP
1062       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6178F EL 11.4CP
1063       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6178F EL 11.4CP
1064       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6178F EL 6.8CP
1065       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP2250 EP 55CP
1066       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP2370 LB
1067       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP2370 LB 28CP
1068       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP3500 HP 2CP
1069       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP9600 HP 8CP
1070       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TSCR-110I15LB 17CP
1071       EE6-8114434-5   6/17/2009 2809-10-100319          7/1/2010 7/23/2010 TSMR-IN032 MG 8.5CP
1072       EE6-8114565-6   6/22/2009 2809-10-100319          7/1/2010 7/23/2010 THMR-IP3680 HL 10CP
1073       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 PMER P-WA450 PM
1074       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-6a
1075       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P6100 EM 4.2CP
1076       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P6100 EM 4.2CP
1077       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P6111 ME 1.7CP
1078       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7047 EM 2.4CP
1079       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P7047 EM 4CP
1080       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-P9009 LA 21CP
1081       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TArF-PI
1082       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TARF-TF-05 LA 24CP
1083       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
1084       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR80 HP 6CP
1085       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB 25CP
1086       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TDMR-AR87 LB 25CP
1087       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P3435 LP 3.1CP
1088       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P6158 EL 13.5CP
1089       EE6-8114614-2   6/24/2009 2809-10-100319          7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.                                                                           34/35
            Case 1:10-cv-00243-TCS             Document 49            Filed 11/08/24         Page 41 of 41
                                            Tokyo Ohka Kogyo America, Inc.
                                                  Court No. 10-00243
                                                     Schedule B

       A         B              C               D               E            F                        G


                                                          Protest       Protest
  1          Entry Num     Entry Date Protest No          Date          Denied                   Description
1090       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P7133M EL 10.7CP
1091       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 TGMR-EN103 PE 3.6CP
1092       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP3500 HP 5CP
1093       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP3680 HL 10CP
1094       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP3680 HL 10CP
1095       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP5700 HP
1096       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP5700 HP 14CP
1097       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP8350 LB 23CP
1098       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-CR 50I15 EP 30CP
1099       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-IN022 PM 18CP
1100       EE6-8114614-2    6/24/2009 2809-10-100319         7/1/2010 7/23/2010 TSMR-IN027 PM 8CP
1101       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 DP-6230 LA
1102       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TArF-6a
1103       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TArF-8a
1104       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TARF-P
1105       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TArF-TAI
1106       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TDMR-AR65 HP 11CP
1107       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P015 PM
1108       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P015 PM 9CP
1109       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P501B PM 5cp
1110       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P5122 EL
1111       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-P6158 EL 13.5CP
1112       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TDUR-PEX4 PM 11CP
1113       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP2250 EP 55CP
1114       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP2250 EP 55CP
1115       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP2370 LB
1116       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP2370 LB 28CP
1117       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP2600 LB 36CP
1118       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 THMR-IP3300 LB 5CP
1119       EE6-8114818-9    6/30/2009 2809-10-100319         7/1/2010 7/23/2010 TSCR-110I15LB 17CP
*The merchandise marked by an asterisk (*) consists of a photoresist identified on the commercial invoice in
the specified entry (a) which is not stipulable and is abandoned or (b) as to which all relief sought has previously
been granted and no further relief is due.


                                                                                                                       35/35
